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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,

               Plaintiff,
                                                       Case No. 1:21-CR-00619-BAH
       v.

ERIK HERRERA

               Defendant.



                                   JOINT STATUS REPORT


       Defendant Erik Herrera by and through his attorney of record, Federal Public Defender

Cuauhtemoc Ortega, and Plaintiff United States of America, by and through its attorneys of record,

Assistant United States Attorneys Jacqueline N. Schesnol and Christopher M. Cook, together “the

parties,” hereby file this joint status report pursuant to this Court’s November 4, 2024, Order.

       1.      On April 17, 2024, this Court granted Mr. Herrera’s Motion for Release Pending

Appeal (ECF No. 91) and ordered the parties to submit a joint status report within five days of the

Supreme Court’s issuance of a decision in United States v. Fischer, 64 F.4th 329 (D.C. Cir. 2023),

cert. granted, No. 23-5572, 2023 WL 8605748 (U.S. Dec. 13, 2023). (ECF No. 99.)

       2.      On June 28, 2024, the Supreme Court of the United States issued its opinion in

Fischer v. United States, No. 23-5572, 2024 WL 3208034 (U.S. June 28, 2024).

       3.      The parties filed several joint status reports requesting additional time to meet and

confer regarding the effect of the Fischer decision on Mr. Herrera’s case. (ECF Nos. 101, 102,

103, and 104.) This Court granted those requests.

       4.      On November 20, 2024, the United States Court of Appeals for the District of

Columbia Circuit, after a joint motion from the parties for a dismissal of Mr. Herrera’s conviction

of Count 1, ordered that Mr. Herrera’s conviction under 18 U.S.C. §§ 1512(c)(2) and 2 be vacated



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and the case be remanded for further proceedings. See United States v. Herrera, No. 23-3009

(D.C. Cir.).

       5.      Accordingly, the parties respectfully request this Court to schedule a re-sentencing

of Mr. Herrera on December 9th or alternatively on the afternoon of December 10th.


                                             Respectfully submitted,

                                             CUAUHTEMOC ORTEGA
                                             Federal Public Defender


DATED: November 21, 2024                      /s/ Cuauhtemoc Ortega
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DATED: November 21, 2024                      /s/ Christopher M. Cook
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